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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                    OFFICE OF THE CLERK
                                         P.O. BOX 1636
                                BRUNSWICK,GEORGIA 31521



Scott L. Poff
Clerk


RE:      Sheryl A. Turner v. Veronica White


                    REMOVAL NOTICE TO ALL COUNSEL OF RECORD

Take notice that the above-styled case was removed to the Southern District of Georgia,
 Brunswick      Division, from: The Magistrate Court of Long County, State of Gj^
The Civil Action Number assigned to this case is: 2:19-cv-8      . The case was filed and
docketed on; 01/18/2019        and has been assigned to: Judge Lisa Godbey Wood           .


        ALL PARTIES ARE NOTIFIED TO RE-FILE ANY PENDING MOTIONS fPREVlOUSLY
FILED IN STATE COURTL AND RESPONSES. WITHIN FOURTEEN C141 DAYS OF THE DATE
OF THIS NOTICE. THIS COURT WILL NOT SUA SPONTE TAKE UP MOTIONS FILED PRIOR
TO REMOVAL DATE.



        PLAINTIFF'S COUNSEL INTENDING TO APPEAR IN THE REFERENCED
MATTER MUST ENTER A NOTICE OF APPEARANCE OR A MOTION FOR ADMISSION
PRO HAC VICE NO LATER THAN TEN (10) DAYS AFTER THE ISSUANCE OF THIS
NOTICE. PLAINTIFF'S COUNSEL WHO DOES NOT INTEND TO REPRESENT
PLAINTIFF IN THIS MATTER MUST NOTIFY THE CLIENT AND FILE A NOTICE OF
COMPLIANCE(AND INCLUDE THE CLIENT'S ADDRESS)WITHIN THE SAME TEN (10)
DAY PERIOD.



DATE: 01/18/2019



cc: Sheryl A. Turner                                       SCOTT L. POFF,CLERK



                                                                  Deputy Clerk
